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            HOW MUCH UNCOMPENSATED CARE DO DOCTORS PROVIDE?

                                         Jonathan Gruber
                                         David Rodriguez

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How Much Uncompensated Care do Doctors Provide?
Jonathan Gruber and David Rodriguez
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                                             ABSTRACT

The magnitude of provider uncompensated care has become an important public policy issue. Yet
existing measures of uncompensated care are flawed because they compare uninsured payments to
list prices, not to the prices actually paid by the insured. We address this issue using a novel source
of data from a vendor that processes financial data for almost 4000 physicians. We measure uncompensated
care as the net amount that physicians lose by lower payments from the uninsured than from the insured.
Our best estimate is that physicians provide negative uncompensated care to the uninsured, earning
more on uninsured patients than on insured patients with comparable treatments. Even our most conservative
estimates suggest that uncompensated care amounts to only 0.8% of revenues, or at most $3.2 billion
nationally. These results highlight the important distinction between charges and payments, and point
to the need for a re-definition of uncompensated care in the health sector going forward.


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        The high and rising number of uninsured in the United States has led to increased

concern about their access to health care. For many uninsured, the primary means of

access is through uncompensated care from medical providers: care for which the

uninsured are not billed, or which they receive at a substantial discount. The existence

and magnitude of uncompensated care has become an important public policy issue.

For example, attempts to use provider assessments to finance care for the insured (as

recently enacted in the state of Massachusetts and debated in the state of California) are

justified by the savings to providers from their reduced costs of caring for the uninsured.

In this era of tight fiscal budget constraints at both the state and federal level, assessing

the amount of funds that are potentially available from uncompensated care to finance

broader health reform is critical.

        Previous studies have used different approaches to calculating the amount of

uncompensated care. In 2006, the American Hospital Association (AHA) collected data

from hospitals on the amount by which payments fell short of the costs of providing care.

The AHA calculates that hospitals provided uncompensated care in 2005 equivalent to

5.6% of their costs for that year, or $28.8 billion dollars. Cunningham and May (2006)

collected data on physician uncompensated care by surveying physicians and asking them

what share of their time was spent on charity care. They estimate that 68% of physicians

provided charity care in 2004-2005, a significant decline from just eight years earlier, and

that doctors spent on average 6.3% of their time on charity cases. Combining these two

studies suggests that there may be over $50 billion/year in uncompensated care provided

in the U.S..
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       The goal of our paper is to measure the cost to one part of the health care system,

the office-based physician sector, of caring for the uninsured population. In contrast to

previous studies, we do not compare payments by the uninsured to the prices that they are

billed, but rather to the prices actually paid by insured patients. That is, we ask:

compared to insured patients, how much less do uninsured patients pay for their care?

The difference between what the insured pay and the uninsured pay is our definition of

uncompensated care.

       Our approach differs from previous studies in two key ways. First, most studies

determine the value of uncompensated care by looking at doctors’ list prices. But since

doctors negotiate deeply discounted rates with insurance companies (averaging 55% in

our data), using list prices will overestimate the true amount of uncompensated care.

Instead, we use data that allow us to determine what doctors actually receive on average

for each procedure they do. For example, if an uninsured patient receives a procedure

with a list price of $200, but insurance companies would only pay that doctor $90 on

average, we say that patient received $90 worth of care. If the patient paid nothing, we

call that $90 of uncompensated care.

       A second difference in our approach is that we allow uncompensated care to be

negative. If an uninsured patient pays $200 for a procedure for which an insurance

company would pay that doctor $90, then we say that patient received -$110 of

uncompensated care. This reflects the fact that a large fraction of the uninsured pay full

list price (which is typically much greater than what an insured patient would pay), and a

second large fraction of the population pay nothing. The total effect on a single doctor or

the industry as a whole can be judged only by combining the effect of both groups.
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          Whether negative uncompensated care should be counted as an offset to positive

uncompensated care depends on the goal of the exercise. One goal is to assess the

aggregate amount of uncompensated care provided by physicians, which is used as an

important yardstick by public policy makers. Our approach is consistent with this goal.

Another goal would be to assess the share of physicians providing charity care, or the

share of patients receiving such charity care. In this case, one might not want to use

“negative” uncompensated care to offset positive charity care. We show alternative

results below which address this perspective, and find that uncompensated care in the

physician sector is still well below common estimates.

          To estimate uncompensated care, we make use of a new data set that includes

detailed financial records for nearly 4000 doctors and over 4 million patient visits,

including 160k visits from uninsured patients. For every visit, we know: the patient’s

insurance coverage, the procedures done, the diagnoses justifying those procedures, the

price charged, and how much the patient and insurance company paid against each

charge.

          Our approach to uncompensated care gives results that are consistent with other

studies when the same measurement approaches are used, yet dramatically different when

our alternative measurement approach is used. Using our data, we estimate

uncompensated care relative to list prices of 2.7% to 3.2% of physician revenues.

          However, we believe this estimate of uncompensated care is wrong because it’s

based on list prices. If we instead look at the discounted rates which determine what

doctors are actually paid, we get a very different picture. While about a quarter of visits

by the uninsured result in no payment, almost two-thirds of uninsured patients pay more
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for their care than insured patient, and often much more. And we find that the majority

of physicians actually make money, on net, on their uninsured patients. On net, our best

estimate of uncompensated care is -0.07%. That is, the average doctor earns slightly

more on their uninsured patients than their insured patients. A more conservative

estimate places uncompensated care at only about 0.8% of revenues, well below reported

levels.

          Our paper proceeds as follows. In Part I, we provide a brief background

discussion on charity care in health care. Part II discusses our unique source of data and

how we will use it to measure uncompensated care. Part III presents our results, while

Part IV considers a host of potential biases to our findings and largely dismisses them.

Part V concludes.



                Part I: Background on Charity in the Health Care Sector

Hospital Charitable Care

          Charitable care has long been a stated mission of hospitals. When the Hill-Burton

Act was passed in 1946, non-profit hospitals were given federal funding in exchange for

providing a "reasonable volume of services to persons unable to pay." The term

"reasonable volume" was left unclear until 1979, when the minimum was defined as 3%

of the hospital's expenses or 1/10th of the assistance provided by the federal government.

Funding is no longer distributed under Hill-Burton, but any hospital that claims tax-

exempt status must document how it is providing a service to the community beyond

what a profit-seeking business would provide. Again there are few hard requirements,
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and hospitals are free to draw on everything from free care to the health brochures they

hand out in waiting rooms.

        The AHA performs a survey each year to calculate how much free and discounted

care hospitals provide, and their data suggests hospitals have been providing a level of

free or discounted care equal to 5-6% of revenue for the last 25 years. This number

includes two groups of patients: (1) those who were given free or discounted care because

the hospital determined they were unable to pay, and (2) patients who had the ability to

pay, as determined by the hospital, but didn’t pay (commonly called “bad debt”). When

non-profit hospitals report their level of uncompensated care to government agencies, it’s

common for them to also combine the two types of patients.

        There is debate over whether hospitals should be allowed to include bad debt

when calculating their level of charity care because there is substantial difference

between offering a patient free care from the start and declaring care to be free only after

the hospital (and collection agencies) have been unable to collect payment. Organizations

like the Catholic Health Alliance argue that bad debt should be excluded when

calculating charity care (Catholic Health Association, 2005), and they've held meetings

with the IRS to argue for revised guidelines. The IRS appears to be moving in that

direction. Steven T. Miller, The IRS' commissioner of the IRS' Tax Exempt and

Government Entities Division, recently said "It's hard to see bad debt as charity care

where collection actions or threats have been brought to bear in the area" (Healthcare

Financial Management, 2007). The IRS expects to release revised guidelines later in

2007.
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       Several states have enacted laws which define a minimum level of charity care

that non-profit hospitals must provide in order to retain their tax-exempt status. In Texas,

for example, hospitals must document that they’re providing charity care equal to 4% of

the hospital's patient revenue, excluding bad debt (Texas Department of State Health

Services, 2005).

       The other major consideration with these data is that they measure

uncompensated care delivered to all patients, not just the uninsured. Yet expansion of

insurance coverage is typically motivated by the uncompensated care savings that will

derive from covering the uninsured; indeed, when insurance coverage expands,

uncompensated care to the insured can only increase. We are aware of only three studies

that attempt to separate the share of uncompensated care provided to insured versus

uninsured patients, for samples of patients in Florida, Massachusetts and Indiana.

The results of these studies are fairly consistent: the share of uncompensated care cases

that are accounted for by the uninsured varies from 35% (Duncan and Kilpatrick, 1987;

Weissman et al., 1992) to 46% (Saywell et al, 1989), and the share of uncompensated

care dollars that are accounted for by the uninsured varies from 60% (Saywell et. al,

1989; Weissman et al., 1992) to 72% (Duncan and Kilpatrick, 1987)..



Physician Charitable Care

       There is much less work on charitable care by physicians. The earliest work of

which we are aware is Sloan, Cromwell and Mitchell (1978), using a 1977 nationwide

survey of physicians, who found that charity care amounted to 2.7% of gross billings and

that bad debts accounted for an additional 8.4% of gross billings. Ohsfeldt (1985) used
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data from the American Medical Association’s Socioeconomic Monitoring System from

1982 and found that physician billings were reduced by 9% by charity care and another

6.3% for bad debt. Kilpatrick et al. (1991) drew a random sample of physicians in the

state of Florida and found that 10.4% of the billed amount by physicians was unresolved,

with roughly half of that amount coming from self-pay patients. Kilpatrick et al. is the

only study which separated out physician uncompensated care to insured vs. uninsured

patients; they find that 31% of uncompensated care cases, representing 52% of

uncompensated care amounts, were accounted for by the uninsured.

       The best known recent work in this area is continuing analysis of the Community

Tracking Survey (CTS) by Peter Cunningham and associates. The CTS is a nationally

representative telephone survey of physicians involved in direct care in the continental

U.S. This survey asks physicians about the share of patients who receive free or reduced

price care due to financial need (but without distinguishing insured vs. uninsured), and

the percentage of practice time spent providing such care. The most recent round of this

study (2004-2005) found that 68.2% of physicians provide such “charity care”, and that,

among physicians providing such care, it amounts to 6.3% of their time.



                             Part II: Data and Methodology

       The centerpiece of our analysis is a unique data set the likes of which has never

been explored to investigate the charitable care issue. The vendor provides medical

billing services to doctors across the country, and has detailed financial records for 3860

physicians in 317 practices in 60 different specialties. The data come from physicians at

small and large groups, including clinics, academic medical centers, and hospitals. Both
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for-profit and non-profit groups are included; one quarter of the providers come from

hospitals or academic medical centers.

       These records have been made available to us with permission from the vendor

and its physician clients. Altogether we have data for 4.4 million visits from 1.8 million

patients that occurred between 9/1/2004 and 3/1/2005. Of those visits, 162,000 were from

uninsured patients. For each patient visit, the dataset includes: the procedures performed,

the diagnoses justifying those procedures, and the financial details associated with each

procedure done: payments received, discounts given, and amounts written off or sent to

collection agencies. The dataset includes the patient's insurance information, including

broad categories: Medicare, Medicaid, Private Insurance, or Uninsured.

       We determine the patient’s coverage by looking at the insurance coverage

associated with the claim. A patient is considered “uninsured” if the claim for that service

was never submitted to an insurance company. It’s possible that some of our “uninsured”

patients indeed have some form of insurance coverage, but appear uninsured in our data

because they’re either seeing a doctor that’s not covered by the insurance or they’re

receiving a procedure for which they’re not covered. Therefore, our definition of

“uninsured” only applies to that visit. In Part IV, we perform a variety of tests to exclude

patients who might be considered uninsured only because they’re seeking services not

covered by insurance.

       One potential concern with this analysis is that the ultimate insurance coverage of

the patient does not correspond to the insurance status recorded when the patient checked

in. In our data, 3% of visits are from patients who are recorded as uninsured at time of

check in. There are an additional 0.71% of visits from patients who are recorded as
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insured, but who turn out to be uninsured, typically because coverage had expired. There

is a very small set of individuals for which the opposite is true (appear uninsured but are

actually insured).

       A patient that checks in as an uninsured patient has the potential of being treated

differently (or might ask to be treated differently) than a patient with insurance. Since our

goal is to compare insured patients to uninsured patients, both in level of treatment and

the prices charged, we calculated results for two sets of patients: (1) uninsured patients

who appeared uninsured when they checked in, and (2) all uninsured patients. The results

for both sets are similar, so we simply report the results for case (1).

       Of the nearly 4000 doctors in the sample, we excluded every doctor that had less

than 200 patient visits or $25,000 in revenue over the 6 month period. This restriction

drops the number of physicians in our sample from 3860 to 2537, but reduces the number

of patient visits only slightly, from 4.42 million to 4.36 million. Next we excluded every

physician without at least one visit from an uninsured patient where we could determine

the visit's expected payment (defined below), which reduces the number of uninsured

visits from 162k to 149k and the number of physicians to 2474.



Sampling

       Our sample is not random, but is rather selected by which practices choose to use

the services of this particular vendor. To make our providers look more like the national

population of doctors, we determined a weighting for each provider based on location,

specialty, and practice size. Unfortunately, we could not find a single data set that

provided the joint distribution of physicians along these three dimensions, so we
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combined data from two sources: published tabulations of the American Medical

Association (AMA) physician survey (on physician location), and our own tabulations of

the physician component of the Community Tracking Survey (CTS) (on a cross

tabulation of physician specialty and practice size).

         We began by using these data to investigate the representativeness of our sample.

Our sample is restricted to only 22 states, although they span all regions of the nation; the

data are relatively oversampled in the states of Massachusetts, Kansas and Ohio.1 As

Table 1 shows, our sample is much more likely to consist of large physician practices

than is the national sample in the CTS survey. Only 2% of our sample consists of solo

practitioners, as opposed to 21% of the CTS survey; only 5% of our sample is in practices

of 2-3 physicians, as opposed to 16% in the CTS survey; and only 11% of our sample is

in practices of 4-10 physicians, as opposed to 23% in the CTS survey. In contrast, two-

thirds of our sample is in practices of eleven or more physicians, as opposed to only 21%

in the CTS survey. The distribution of specialties in our data is much closer to that in the

CTS; we somewhat understate medical specialists and overstate

obstetricians/gynecologists, but the numbers are otherwise very comparable.

         To weight for these differences, we (a) computed the share of our physicians in

each state relative to the AMA data and (b) computed the share of our physicians in each

size/specialty, relative to the CTS data, (c) multiplied these shares for any given

physician, and (d) used the inverse as a weight. So, for example, 6% of our sample

physicians are in California, while the AMA reports that 12% of physicians are in that

state nationally. And only 1.3% of our sample are family/general practitioners in

1
 The states are: California, Connecticut, Florida, Georgia, Illinois, Kansas, Louisiana, Massachusetts,
Maryland, Michigan, Missouri, North Carolina, New Hampshire, New Jersey, New York, Ohio,
Pennsylvania, Rhode Island, South Carolina, Tennessee, Texas and Virginia.
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practices of size 4-10, while 3.9% of the national CTS sample is in this cell. So any

family/general practitioner in a practice of size 4-10 in California receives a weight of the

inverse of (6/12)*(1.3/3.9), or a weight of 6 in this case.

       This weighting procedure has two weaknesses. First, we do not account for any

covariance between size/specialty and location; for example, if the state of California

happens to have a particularly high share of family/general practitioners in a practice size

of 4-10, that would lead us to overweight that observation. Second, our sample may

differ from the national sample along dimensions other than size, location and specialty.

We have no reason to believe that either of these is a problem in practice. Nevertheless,

we will show our findings both weighted and unweighted to illustrate the importance of

this weighting procedure.

       We compared the patients in our sample against those in the National Ambulatory

Medical Care Survey (NAMCS), the largest nationally representative data set of

physician visits. This distribution is similar, particularly once our data are weighted. The

NAMCS finds that 60.5% of visits are from patients with private insurance; in our data,

once weighted, it was 59%. For Medicare, NAMCS finds 26.2% while we find 23%. For

Medicaid, NAMCS has 10% while our data has 9.3%. Finally, 3.9% of our visits are

from the (ex-ante known) uninsured, compared to 4.8% of visits nationally. There is an

additional 1.6% of visits in our data that come from patients who are not known to be

uninsured at the time of service but who end up being uninsured for that procedure. It is

unclear how these should be distributed across payers. Nonetheless, the close

correspondence of these categories suggests that our sample is fairly nationally

representative.
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        It is important to highlight that both our sample and the NAMCS sample to which

we compare our data considers only physician offices and not hospital outpatient clinics

which provide a disproportionate share of outpatient uncompensated care. Yet this is

appropriate for our analysis since our paper focuses on the amount of physician

uncompensated care delivered in the U.S., not on hospital uncompensated care (which

would include outpatient clinics). As we discuss in the conclusion, our findings for

physicians do not necessarily extend to the hospital setting, so that the figures from the

AHA for uncompensated care in that sector are more close to reliable. But given the

large amount of uncompensated physician office care that is implied by surveys such as

Cunningham’s it is important to consider the physician sector as well.



Methodology

        Our definition of uncompensated care implicitly asks the question: if each

provider could replace each uninsured patient with an insured patient who received the

same level of care, would the provider expect to make more or less? If the uninsured

patient paid the same amount the average insurance company would pay (to the same

doctor, for the same procedure), then we say there is no uncompensated care. Since we

look only at payments instead of prices, we completely sidestep the problems associated

with inflated list prices.

        To calculate uncompensated care, each visit is broken down into the procedures

done, and for each procedure we calculate the average payment that doctor would expect

to receive from doing that procedure on an insured patient; this is the procedure's
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"expected payment". For every uninsured visit, we sum the expected payments and

subtract the actual payments; this is our "uncompensated care".

        A unique expected payment is calculated for every doctor/procedure code

combination by looking at each doctor's payment history. If a doctor performed a

procedure less than 5 times, we use the payment history for that procedure for all doctors

at the practice. If there are still fewer than 5 observations available, the procedure is

excluded for that doctor, and every visit with that procedure code is excluded.2

        One hole in our data is around charges sent to collection agencies: we know how

much was sent off to collection agencies for visit, but we don’t know how much was

ultimately recovered and returned to the doctor. This is a large issue since the uninsured

have a large number of charges sent to collection agencies; in our data, uninsured patients

collectively paid $7.8 million directly to the practice, but another $8.7 million in charges

were sent to collection agencies.

        Good data on collection rates are hard to find, but a few sources suggest

physicians recovery only a small fraction of the charges they send to collections, around

10%.3 To assess the sensitivity of our results to collection rates, we calculate all numbers

under two different assumptions: (1) no charges sent to collections are recovered, and (2)

10% of charges sent to collections are recovered.

        In summary, our approach uses insured patients as a measure of the opportunity

cost of serving an uninsured patient. In doing so we implicitly assume that physicians

can freely substitute an insured patient for an uninsured patient; that is, that the supply of

2
  We can compute expected payments for 95% of the procedures performed on the uninsured in our data.
Among that group, we compute expected payment using the same physician 93% of the time, and using the
practice overall 7% of the time.
3
  For example, Hammer (2005) reports that the average netback rate (% of charges returned to doctors,
after collection fees) is between 7 and 11%.
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insured patients is perfectly elastic at the point that the uninsured patient is treated. This

may not be a reasonable assumption. Indeed, there is evidence that physicians are less

willing to take uninsured patients than privately insured patients, which suggests that they

don’t consider uninsured patients valid alternatives (and therefore may be turning to them

only when privately insured patients run out).4

           If this is true, then estimates using privately insured rates as the opportunity cost

of the uninsured potentially overstate uncompensated care (by overstating the opportunity

cost of seeing the uninsured patient). We can bound this problem, however, by using

Medicaid payments as a measure of opportunity cost. These same studies show that

physicians are more willing to see uninsured patients than Medicaid patients; at least with

uninsured patients, there is some prospect of high reimbursement, while Medicaid

reimbursement is low both ex ante and ex post. Therefore, Medicaid payments probably

understate the opportunity cost of taking the uninsured (since the uninsured are still

preferred to Medicaid). As a result, we present our basic results compared to all insured

patients, but then split into comparisons to the privately and Medicaid insured to bound

our measure of opportunity cost.



                                               Part III: Basic Results

           We present our results from two perspectives: the physician’s and the patient’s.



Physician Perspective

           Figure 1 shows the distribution of uncompensated care relative to expected

payment on average for uninsured patients for each physician. To provide bounds on our
4
    See, for example, Asplin et al. (2003) and Fairbrother et al. (2003).
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estimates, we consider two extreme cases. The first, our “Base Definition” which in our

view most accurately represents the amount of uncompensated care in our data, assumes

that 10% of charges sent to collection agencies are ultimately collected, and weights the

data using the procedure described above. The alternative “Conservative Definition”

both (a) assumes that zero percent of charges sent to collections agencies are collected

and (b) does not weight the sample to account for the fact that we have a non-random

size, specialty and location distribution.

       In parallel, we present the key facts underlying Figure 1 in Table 2. In this case,

we consider all four combinations of weighting vs. not weighting, and assuming zero

collections vs. assuming 10% collections. Typically, 80-90% of the effect of moving

from the lower bound (estimates with weighting and assuming 10% collections) to the

upper bound (no weighting and assuming no collections) is a result of the weighting, with

a more minor effect for the collections assumption.

       Figure 1 shows the difference between what uninsured patients paid and the

expected payment of insured patients (uncompensated care), as a fraction of that expected

payment. We have scaled the graph so that higher numbers mean more uncompensated

care. Thus, a value of 1 means the doctor received no payments from his uninsured

patient; a value of 0 means his uninsured patients paid the same as what insured patients

would have paid; and a negative value means the doctor found his uninsured patients

more profitable.

       While the magnitudes differ, both of these approaches tell a similar story: 45 to

59% of physicians actually provide negative uncompensated care; that is, they collect

more, on average, from their uninsured patients than from their insured patients. Indeed,
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12 to 14 percent of physicians found their uninsured patients more than twice as

profitable as their insured patients; that is, the net payments from the uninsured were

more than twice the expected payments from insured patients (points below -50% in

Figure 1). On the other hand, 1 to 7% of physicians delivered all care to their uninsured

patients for free (values of 100% Figure 1), and 17 to 30% of physicians delivered care to

their uninsured patients at less than half the cost to insured patients.

       The remainder of Table 2 shows the results separately for two different payer

bases: privately insured and Medicaid insured. In these cases, when computing the

counterfactual amount that the uninsured would pay if insured, instead of using all

insured, we use only patients in these categories. As discussed above, these cases

provide useful bounds for the opportunity cost of seeing an uninsured patient. The

corresponding data are plotted as well in Figure 2. Note that the sample changes

somewhat when we use different bases of insured patients.

       The results for privately insured are similar to those for all payers, but the results

for Medicaid show considerably less uncompensated care. Compared to the rates received

for the privately insured, physicians actually provide negative uncompensated care in 40-

56% of the cases. Compared to the rates received for Medicaid patients, however,

physicians provide negative uncompensated care 59-76% of the time. That is, regardless

of how it is measured, the majority of physicians in our sample receive more payment

from the uninsured than they do from Medicaid patients. Even more striking, relative to

Medicaid reimbursements, 42-57% of physicians make 50% more on the uninsured, and

23-38% of physicians actually make twice as much on the uninsured as they do on

Medicaid patients.
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       Of particular interest is the total amount of uncompensated care delivered by

physicians in our sample, which is equivalent to the area under the positive part of the

curve in Figure 1 minus the area under the negative part of the curve. Table 3 presents

several statistics on uncompensated care. We find that uncompensated care, measured

relative to all insured patients, is -0.07% of patient care revenues using our best estimate,

and 0.59% of patient care revenue using our upper bound estimate. Relative to the

privately insured, uncompensated care ranges from 0.24% of revenues to 0.8% of

revenues. Relative to Medicaid, however, uncompensated care ranges from -0.75% of

revenues to 0.16% of revenues.

       The next rows show dollars of uncompensated care delivered, on average, per

visit by the uninsured. Compared to all insured, physicians deliver between -$2.10 and

$19.86 in uncompensated care per visit by the uninsured. Compared to the privately

insured, the range is from $67 to $26.60; compared to those on Medicaid, the range is

from -$15 to $4 per visit by the uninsured.

       Uncompensated care is also highly concentrated among a fraction of providers.

The next rows show that 1/10th of providers account for 62% of all uncompensated care,

providing uncompensated care equal to 4.7% to 11.3% of their patient revenue. The top

quarter of physicians generate an amount greater than the entire industry (that is, the

other 75% generate negative uncompensated care).

       We can also translate our findings to aggregate dollars of uncompensated care.

Total physician practice revenues in the United States in 2004 were $399 billion. Our

central findings suggest that uncompensated care was -0.07% of this amount, or negative

$300 million. The range of opportunity costs and measurement approaches suggests that
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the amount of uncompensated care is fairly tightly estimated: it ranges from -0.72%

(compared to Medicaid, base definition), or -$2.9 billion, to 0.8% (compared to private

insurance, conservative definition), or $3.2 billion.



Physician Perspective – Positive Uncompensated Care Only

       The analysis presented in the previous section considers the aggregate

uncompensated care delivered by physicians, adding both the amounts of positive

uncompensated care delivered to those who pay less than the insured, and the negative

amounts of uncompensated care delivered to those who pay more than the insured.

As noted in the introduction, whether these negative and positive amounts should be

combined depends on one’s perspective on the current exercise. Our primary goal is to

assess the aggregate amount of uncompensated care provided by physicians, which is

used as an important yardstick by public policy makers, and we therefore incorporate

both positive and negative uncompensated care in our calculations.

       But this approach has the awkward feature that it presumes that negative

uncompensated care is somehow “different” than other means that physicians have at

their disposal to fund charity care. If a physician delivers care to some uninsured patients

at a discount, he can offset that loss in a number of ways beyond charging list prices to

other uninsured patients, for example by charging more to privately insured patients or by

seeing a more profitable mix of other patients. It is not clear why we should count higher

prices to the uninsured “against” the amount of charity delivered when we don’t consider

these other offsets as well. Therefore, there is a coherent case for simply examining the
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positive uncompensated care delivered by physicians, and not offsetting against this the

negative.

       Table 4 repeats the calculations from Table 3, except it only looks at patients with

positive uncompensated care. In other words, we sum the losses generated by those who

underpay but we don’t offset those losses by those who overpay. By this calculation,

uncompensated care increases to 0.86-1.15% of revenues. This is still well below typical

measures of uncompensated care for the physician sector. By comparing Tables 3 and 4,

we can tell that for every dollar lost on an uninsured patient who pays less than an

insured patient, between $0.56 and $0.93 is recovered from another uninsured patient

who pays more than the average insured patient.



Patient Perspective

       How often do uninsured patients pay more than an uninsured patient would pay

for the same care? Our results are shown in Table 5, and we again include versions

without and without weighting, and with and without collections. Between 35 and 53% of

patients receive some uncompensated care. That is, a minority of patients actually paid

less than the typical insured patient receiving the same procedures, and 47-65% of

uninsured patients actually paid more than the average insured patient.

       We estimate that 26% of patients (44% if unweighted) paid nothing before

collections, and for that group more than half of their cases were sent to collection

agencies. Since we don’t know what fraction of those patients ultimately made

payments, we leave the 10% collections column blank. On the other hand, we find that
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8.5 to 9.6% of uninsured patients paid more than double what their insured counterparts

paid for the same procedure.

       If we use private insurance or Medicaid as our baseline, we find roughly the same

share of patients receiving uncompensated care, but the magnitude of uncompensated

care is different: for 25-33% of the visits, for example, the patient paid twice what the

average Medicaid patient would have paid. Note once again that the results are

somewhat different across these panels due to a changing sample of physicians.



Prices Charged

       One interesting question that can be addressed using our data is whether

uncompensated care arises mostly from physicians charging lower prices to the uninsured

than to the insured (ex-ante discounts), or from the uninsured not paying full the amounts

charged to them (ex-post writeoffs). That is, if uninsured patients paid the amount that

they were billed, how much uncompensated care would there be?

       The evidence here clearly shows that most uncompensated care arises from the

uninsured not paying their bills, rather than receiving ex-ante discounts (relative to the

insured). Only 13% of the uninsured were billed less than the insured; only 7% were

billed nothing, and only 8% were billed half or less of the amount billed to the insured

(including the 7% who were billed nothing). On the other hand, 87% of the uninsured

were billed more than the insured, reflecting the discounts off list prices received by the

insured but not shared by the uninsured. Forty-four percent of the uninsured were

charged 50% more than the insured, and 23% of the uninsured were charged double or

more the amount charged to the insured.
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Actual vs. Reported Uncompensated Care

       Our results thus far are quite striking, suggesting that physicians don’t actually

provide much uncompensated care, despite survey evidence to the contrary. Is this result

because physicians aren’t reporting the truth in surveys, or because they are calculating

uncompensated care relative to list rather than discounted prices?

       The evidence here strongly favors the latter interpretation. Table 6 shows

uncompensated care computed in the “traditional” way. This table mimics our procedure,

but instead compares the amounts paid by the uninsured to list prices (rather than net

payments by the insured). The vast majority of physicians collect less than list prices

from their uninsured patients, and 40-57% of visits by the uninsured result in a payment

below list price. The average “underpayment” (amount paid less than list price) ranges

from 48.7% to 67.7%. Relative to list prices, then, physicians are providing

uncompensated care on average of $93 to $128 per visit, or 2.7% to 3.2% of revenues,

well above the amounts we show in Table 3.

       These estimates are about half of the share of practice time devoted to charity care

reported by Cunningham and May (2006), but that charity care level included any patient

for whom charity care was provided, insured or not. As noted earlier, Kilpatrick et al.

(1991) found that about half of uncompensated care was delivered to the uninsured;

extrapolating to our results, we would estimate total uncompensated care levels of 5.4%

to 6.4%, which is directly in line with the Cunningham and May estimates. Therefore,

we conclude that the high levels of uncompensated care reported in previous studies are
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the result not of poor reporting, but rather of a (in our opinion, faulty) comparison to list

prices.



                        Part IV: Potential Biases to the Calculation

          We find that physicians deliver, on net, very little (if any) uncompensated care,

but several features of our analysis suggest caution before extrapolating this result. In

this section, we explore these concerns further.



Bias from Elective Processes?

          A primary concern with our results is that we are defining insurance status at the

visit level, not the patient level. Thus, some of our “uninsured” visits may actually be

from insured patients who are not covered for that particular visit. For example, if our

data include a large number of patients receiving elective or cosmetic procedures not

covered by insurance (or patients choosing to pay cash to avoid insurance constraints),

then this should not count against the uncompensated care delivered to those truly

uninsured. In this section, we address that concern, and show it not to be a significant

determinant of our findings.

          Table 7 shows the 20 most common diagnoses for uninsured patients in the

sample. The first column shows the ranking of that procedure in terms of frequency for

the uninsured, and the second column shows the share of uninsured visits for which this

was the primary diagnosis. The third column shows the comparable rank for the insured

and the share of insured visits for which this was the primary diagnosis.
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       There is a very strong correspondence across these groups. Fourteen of the

twenty most common diagnoses for the uninsured are also in the top twenty diagnoses for

the insured; eighteen are in the top thirty diagnoses for the insured. The shares are also

very similar. Thus, the procedures which make up the most common treatments of the

uninsured are common procedures performed on the insured as well; our data do not

appear to largely reflect “elective” procedures that are uncovered for that visit. At the

same time, there are clearly examples of this type of visit in our data, as shown by the

row for “myopia”, which is very common for the uninsured and not so for the insured;

this clearly reflects the fact that many of those treated for myopia are insured individuals

not covered by that service.

       To address this issue more comprehensively, we ranked all procedures by the

fraction of the time they were performed on uninsured patients. For example, 40% of

patients receiving acupuncture appear uninsured; presumably this includes patients who

have insurance that won’t cover the procedure. On the other hand, only 1.6% of patients

receiving a pap smear are uninsured; since virtually all insurance (other than hospital-

only coverage) would cover this procedure, the patients reported uninsured are

presumably truly uninsured.

       We then replicated our analysis excluding subsets of procedures with particularly

high shares of uninsured (like myopia or acupuncture), on the grounds that these

procedures may represent care actually delivered to the insured. In fact, if we exclude all

procedures where more than 15% of the users were uninsured, our estimate of total

uncompensated care remains unchanged. As we lower the cut-off and exclude more

procedures, our estimate of uncompensated care per visit actually falls. This result is
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sensible: patients classified as uninsured for elective procedures are more likely to be

actually insured, and are therefore more likely to pay their bills. If we only looked at

procedures where less than 3% of patients were uninsured (which excludes half of the

procedures done), uncompensated care per visit is cut in half. This is strong evidence that

our results aren’t driven by elective procedures.



Bias from Out of Network Physicians?

       Another source of bias to our calculations could be that our “uninsured” patients

are really insured patients who aren’t receiving elective procedures – but who are

receiving them from “elective physicians”, that is physicians who are not covered by their

insurance. This should not be a major issue for our analysis, since even if patients are

going out of network their utilization will be reported back to their insurance and they

will be classified as insured patients in our data. Nevertheless, we can investigate the

importance of this issue by excluding from our sample physicians who appear to be

“elective”: that is, physicians where the uninsured are likely to pay the full bill. Of

course, this approach confounds the issue by also getting rid of those physicians who are

most aggressive in collecting from the “truly uninsured”, so in doing so we will by

definition overstate the amount of uncompensated care delivered.

       Even this aggressive approach, however, does not suggest that such elective

physicians are driving our results. If we remove from our sample all physicians where

half or more of their uninsured patients pay their full bill, the amount of uncompensated

care delivered in aggregate in our sample rises from only -0.07% (our best estimate from
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Table 3) to 0.66% of revenues – still a very small number compared to reported

uncompensated care.



Bias from Health Differences by Insurance Status

       Our assumption that the payments from insured patients represent the opportunity

cost of uninsured patients rests on a presumption that the two groups are similarly costly

to treat. If an uninsured patient is much sicker, however, and therefore requires more

physician time or effort, then the relevant opportunity cost may not be payment from an

insured patient but some higher figure. Of course, if this variation is reflected only in the

different procedures performed on insured and uninsured patients, then it is captured by

our procedure-specific methodology. There may, however, be variation in health across

insurance types within procedure - perhaps a 15-minute office visit from an uninsured

patient requires more effort than a 15-minute visit from an insured patient.

       To test this hypothesis, we use the diagnoses which are recorded as part of each

visit, and assume that visits with more diagnoses require more effort. Our data shows that

the uninsured on average have no more diagnoses per visit than patients with other types

of coverage: 1.58 diagnoses per visit the uninsured patient, 1.60 for Medicaid, 1.64 for

private insurance, and 2.07 for Medicare.

       However, the comparison above could be misleading if the uninsured population

is somehow different, or seeing a different set of doctors (although Table 1 suggests that

this is not the case). For example, a patient visiting a dermatologist for acne will likely

have only one diagnoses for his visit, but if the same patient visited a general practitioner

for a yearly physical, the list might be longer. To be sure we're comparing similar visits,
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we can ask the question differently: "For every visit for a respiratory infection, how many

other diagnoses were recorded as part of that visit?" If we ask the question for any of the

most common diagnoses -- chest pain, respiratory infections, stomache ache, routine

exam, or pharyngitis -- the result is always the same: the uninsured have fewer diagnoses

recorded per visit, and therefore appear no less healthy than insured patients. If anything,

they appear healthier.



Bias From Cost-Shifting?

       One limitation of our analysis is that it ignores the fact that the prices charged the

insured may themselves be directly influenced by the level of uncompensated care

provided, through the mechanism of cost-shifting. If a physician raises his prices on

insured patients to compensate for uninsured patients who underpay, there is a potential

bias from our using those prices to measure the level of uncompensated care. However,

raising prices on the insured to pay for the uninsured will increase the level of

uncompensated care, not decrease it. Therefore, if price-shifting exists in our data, the

amount of uncompensated care will be overstated. Our analysis of this issue suggests

that any effect of price shifting is very modest.



                         Part IV: Conclusions and Implications

       The provision of uncompensated care is an important touchstone for health care

policy in the U.S. Many argue that the uninsured are already implicitly insured through

the provision of uncompensated care. Others use the existence of uncompensated care as

a justification for, and potential financing source of, universal insurance coverage. But
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such debates begin with a flawed definition of uncompensated care that does not

recognize the realities of the U.S. health care market, and in particular the enormous

discounts delivered to insured patients relative to the list prices charged the uninsured.

       In this paper we have considered an alternative approach which recognizes those

discounts by comparing the prices paid to the uninsured to those paid by the insured.

Doing so provides a very different picture of the level of uncompensated care provided

by physicians. While the physicians in our sample appear to be providing charity care for

the uninsured that amounts to between 2.7 % and 3.2% of their practice revenues, in fact

the uninsured are paying more, on net, for their care than are the insured. At most, the

uninsured are receiving price discounts that are 0.8% of practice revenues.

       This is a striking finding which throws into doubt many of the arguments noted

above. Of course, physician uncompensated care is only a minority of the total amount

of uncompensated care provided in the U.S. The important question is whether applying

the type of approach considered here to hospitals would lead to dramatic reductions in

their reported uncompensated care.

       The computations of hospital uncompensated care from the AHA also rely on list

prices, which would tend to overstate uncompensated care by the arguments provided

here. At the same time, the AHA adjusts reported uncompensated care downward by the

hospital’s overall cost/charge ratio, which will bring the opportunity cost measure more

in line with net payments from the insured (although probably not all the way).

Moreover, the uninsured are likely to be paying a much smaller fraction of their (large)

hospital bills than they are of their (smaller) physician bills, which suggests that hospitals

aren’t getting as much return as physicians on the uninsured.
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       Thus, it seems clear that the AHA measure of uncompensated care overstates

hospital uncompensated care much less than do survey measures of physicians. Whether

the AHA measure overstates uncompensated care at all, and by how much, is an

important topic for future research.
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                          Table 1: Weighting Factors
                                                         %           Scaling
        Size or Speciality            % in sample
                                                     nationally      Factor
Speciality: Family/General Practice       18.58%         16.99%             .91
Speciality: Internal Medicine             14.71%         14.27%             .97
Speciality: Medical Specialties           23.82%         29.34%            1.23
Speciality: ObGyn                         14.50%          6.25%             .43
Speciality: Pediatrics                    10.61%          7.83%             .74
Speciality: Psychiatry                     1.87%          6.47%            3.46
Speciality: Surgical Specialties          15.90%         18.84%            1.19
Practice Size: 1                           1.87%         23.75%           12.71
Practice Size: 2-3                         4.82%         16.45%            3.42
Practice Size: 4-10                       11.77%         23.97%            2.04
Practice Size: 11-199                     54.22%         14.84%             .27
Practice Size: 200+                        5.42%          3.75%             .69
Practice Size: other                      21.90%         17.23%             .79


Note: Table shows the relative national and sample-specific distribution of practice
characteristics that are used to develop our scaling factors. First column shows the
percentage in the sample represented by that specialty or size. The second column shows
the comparable figure for the national sample (from CTS, as described in text). Third
column is the ratio, which we use to scale the data.
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                                                 Figure 1: The Distribution of Physician Uncompensated Care

                                 1




                               0.5
Fraction of Insured Payments
  Uncompensated Care as




                                 0
                                      0%   20%         40%            60%        80%      100%      Conservative Definition (unweighted & no
                                                                                                    collections)
                                                                                                    Base Definition (weighted & 10% collections)

                               -0.5




                                -1




                               -1.5
                                                    Distribution of Physicians
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                                                                                            33




                                             Figure 2: The Distribution of Physician Uncompensated Care, by Insured Payer

                                 1




                               0.5
Fraction of Insured Payments
  Uncompensated Care as




                                 0
                                      0%   10%    20%    30%     40%     50%      60%       70%   80%   90%   100%   Base Definition, Private
                                                                                                                     Base Definition, Medicaid
                                                                                                                     Conservative Definition, Private
                                                                                                                     Conservative Definition, Medicaid
                               -0.5




                                -1




                               -1.5
                                                               Distribution of Physicians
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  Table 2: Physician Perspective -- Total Uncompensated Care for the Uninsured
                            Weighted        Weighted     Unweighted   Unweighted
                              10%               No          10%           No
                           Collections     Collections   Collections  Collections
                               Relative to all insured
% Physicians earning 0 on
                              2.2%             5.4%        1.9%          7.8%
uninsured
% Physicians earning
                             17.1%            20.7%        26.2%        30.5%
50% less on uninsured
% Physicians earning
                             58.3%            57.1%        46.8%        44.4%
more on uninsured
% Physicians earning
                             13.3%            13.0%        12.4%        11.5%
50% more on uninsured
% Physicians earning
                              3.1%             2.8%        2.9%          2.8%
100% more on uninsured
                           Relative to private insurance
% Physicians earning 0 on
                              2.2%             5.4%        2.1%          8.0%
uninsured
% Physicians earning
                             18.5%            20.8%        28.4%        32.7%
50% less on uninsured
% Physicians earning
                             54.3%            50.6%        41.9%        39.8%
more on uninsured
% Physicians earning
                             11.2%            11.0%        10.0%         9.5%
50% more on uninsured
% Physicians earning
                              2.5%             2.5%        2.3%          2.2%
100% more on uninsured
                               Relative to Medicaid
% Physicians earning 0 on
                              3.3%             8.4%        2.2%         10.1%
uninsured
% Physicians earning
                             12.5%            17.3%        18.6%        27.1%
50% less on uninsured
% Physicians earning
                             75.4%            72.9%        63.3%        59.5%
more on uninsured
% Physicians earning
                             57.8%            55.5%        43.8%        41.5%
50% more on uninsured
% Physicians earning
                             39.0%            38.2%        24.1%        22.5%
100% more on uninsured


Note: Results from calculations described in text (and shown in Figure 1). Top panel
compares uninsured to all insured; next two panels divide comparison group into
privately insured and Medicaid insured. First column shows results for our base case that
is weighted and assumes 10% collection rate; other columns vary weighting and
collection assumption.
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               Table 3: Total Uncompensated Care for the Uninsured
                             Weighted         Weighted     Unweighted     Unweighted
                                10%              No           10%             No
                            Collections      Collections   Collections    Collections
                                Relative to all insured
Uncomp Care as % of
                              -0.07%           0.09%         0.43%           0.59%
Patient Revenues
Average Uncomp Care $
                               $-2.10           $2.61        $14.42          $19.86
Per Uninsured Visit
Uncomp Care as % of
                               6.62%           7.88%        10.95%           12.24%
Reveues -- top 10% docs
Uncomp Care as % of
                               3.02%           3.42%         3.99%           4.74%
Reveues -- top 25% docs
                             Relative to private insurance
Uncomp Care as % of
                               0.24%           0.39%         0.65%           0.80%
Patient Revenues
Average Uncomp Care $
                               $6.96           $11.30        $21.60          $26.65
Per Uninsured Visit
Uncomp Care as % of
                               9.01%          10.15%        12.78%           14.37%
Reveues -- top 10% docs
Uncomp Care as % of
                               4.11%           4.36%         5.42%           6.17%
Reveues -- top 25% docs
                                 Relative to Medicaid
Uncomp Care as % of
                              -0.72%           -0.50%        -0.06%          0.16%
Patient Revenues
Average Uncomp Care $
                              $-14.95          $-9.94        $-1.42           $3.97
Per Uninsured Visit
Uncomp Care as % of
                               5.01%           6.04%         8.18%           9.63%
Reveues -- top 10% docs
Uncomp Care as % of
                               1.34%           1.90%         2.57%           3.17%
Reveues -- top 25% docs


Note: Top panel compares uninsured to all insured; next two panels divide comparison
group into privately insured and Medicaid insured. First column shows results for our
base case that is weighted and assumes 10% collection rate; other columns vary
weighting and collection assumption. First row in each panel shows the average of the
ratio of uncompensated care to patient revenues across our sample; the second row shows
the average dollars of uncompensated care. Third and fourth rows show uncompensated
care as a share of revenues for the 10% and 25% of physicians who provide the most
uncompensated care.
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        Table 4: Uncompensated Care for the Uninsured, Underpayment only
                           Weighted         Weighted     Unweighted  Unweighted
                              10%              No           10%          No
                          Collections      Collections   Collections Collections
                              Relative to all insured
Uncomp Care as % of
                             0.86%           1.02%         0.99%       1.15%
Patient Revenues
Average Uncomp Care $
                             $25.08          $29.70        $33.12      $38.47
Per Uninsured Visit
Uncomp Care as % of
                             8.10%           9.29%        12.12%      13.41%
Reveues -- top 10% docs
Uncomp Care as % of
                             3.82%           4.51%         5.06%       5.86%
Reveues -- top 25% docs
                           Relative to private insurance
Uncomp Care as % of
                             1.07%           1.22%         1.14%       1.28%
Patient Revenues
Average Uncomp Care $
                             $30.65          $34.93        $37.79      $42.78
Per Uninsured Visit
Uncomp Care as % of
                            10.50%          11.32%        13.93%      15.23%
Reveues -- top 10% docs
Uncomp Care as % of
                             4.88%           5.68%         6.37%       7.07%
Reveues -- top 25% docs
                               Relative to Medicaid
Uncomp Care as % of
                             0.70%           0.96%         0.79%       1.03%
Patient Revenues
Average Uncomp Care $
                             $14.40          $19.25        $20.00      $25.15
Per Uninsured Visit
Uncomp Care as % of
                             7.30%           7.18%         9.45%      11.25%
Reveues -- top 10% docs
Uncomp Care as % of
                             2.66%           3.44%         3.48%       4.31%
Reveues -- top 25% docs


Note: Top panel compares uninsured to all insured; next two panels divide comparison
group into privately insured and Medicaid insured. First column shows results for our
base case that is weighted and assumes 10% collection rate; other columns vary
weighting and collection assumption. First row in each panel shows the average of the
ratio of uncompensated care to patient revenues across our sample (using only positive
uncompensated care, unlike Table 4); the second row shows the average dollars of
uncompensated care. Third and fourth rows show uncompensated care as a share of
revenues for the 10% and 25% of physicians who provide the most uncompensated care.
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        Table 5: Patient Perspective -- Uncompensated Care for the Uninsured
                             Weighted         Weighted      Unweighted  Unweighted
                               10%                No           10%          No
                            Collections      Collections    Collections Collections
                                 Relative to all insured
% Visits with no
                                ----           26.9%            ----      44.1%
payment
% Visits paying 50%
                              29.0%            29.9%          46.2%       47.6%
less than insured
% Visits paying more
                              64.2%            64.1%          46.5%       46.2%
than insured
% Visits paying 50%
                              26.6%            26.5%          21.7%       21.6%
more than insured
% Visits paying 100%
                               9.6%             9.6%          8.6%        8.5%
more than insured
                              Relative to private insurance
% Visits with no
                                ----           26.6%            ----      42.6%
payment
% Visits paying 50%
                              29.3%            29.9%          45.6%       46.7%
less than insured
% Visits paying more
                              63.4%            63.3%          45.6%       45.4%
than insured
% Visits paying 50%
                              22.1%            22.1%          17.1%       17.0%
more than insured
% Visits paying 100%
                               7.6%             7.6%          6.5%        6.5%
more than insured
                                  Relative to Medicaid
% Visits with no
                                ----           35.0%            ----      50.4%
payment
% Visits paying 50%
                              23.9%            37.2%          45.7%       52.4%
less than insured
% Visits paying more
                              61.7%            60.9%          46.2%       44.9%
than insured
% Visits paying 50%
                              50.5%            50.2%          38.2%       37.6%
more than insured
% Visits paying 100%
                              32.1%            31.9%          24.9%       24.5%
more than insured


Note: Results from calculations described in text. Top panel compares uninsured to all
insured; next two panels divide comparison group into privately insured and Medicaid
insured. First column shows results for our base case that is weighted and assumes 10%
collection rate; other columns vary weighting and collection assumption.
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               Table 6: Uncompensated Care, Calculated from List Prices
                               Weighted     Weighted      Unweighted Unweighted
                                 10%           No            10%            No
                              Collections Collections     Collections   Collections
% Providers who collect less
                                94.8%         94.8%         95.1%         95.1%
than list price
% Visits with payment less
                                39.8%         39.8%         57.0%         57.0%
than list price
Average % underpayment          48.7%         51.7%         64.4%         67.7%
Average $ underpayment,
                                $93.36       $98.93        $121.39       $127.63
per visit
Underpayment as % of
Patient Revenue, calculated      2.7%         2.8%          3.0%          3.2%
from list prices


Note: First column shows results for our base case that is weighted and assumes 10%
collection rate; other columns vary weighting and collection assumption.
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      Table 7: Most Frequent Diagnoses for Uninsured (Compared to Insured)
                                            UI                Ins
                 Diagnosis                          UI %               Ins %
                                           Rank              Rank
V202: Routine Infant Or Child Health
                                               1      1.73%       1       2.16%
Check
78650: Chest Pain, Unspecified                 2      1.66%       6        .92%
V0481: Need For Prophylactic Vaccination
                                               3      1.28%       2       1.22%
And Inoculation Against Influenza
4659: Acute Upper Respiratory Infections
                                               4      1.06%       4       1.06%
Of Unspecified Site
V700: Routine General Medical
Examination At A Health Care Facility          5       .98%       5       1.05%
Health Checkup
V7231: Special Investigations And
Examinations, Routine Gynecological            6       .97%       3        1.2%
Examination
462: Acute Pharyngitis                         7       .85%       7        .87%
3671: Myopia                                   8       .84%    324         .03%
4011: Essential Hypertension, Benign           9       .84%      10        .63%
4660: Acute Bronchitis                        10       .81%       9        .64%
78900: Abdominal Pain, Unspecified Site       11       .67%      23        .35%
V221: Supervision Of Other Normal
                                              12       .67%       8        .74%
Pregnancy
4619: Acute Sinusitis, Unspecified            13       .66%      11          .6%
7242: Lumbago                                 14         .6%     13        .53%
4019: Essential Hypertension, Unspecified     15       .57%      18          .4%
5990: Urinary Tract Infection, Site Not
                                              16       .52%      19        .39%
Specified
7295: Pain In Limb                            17       .45%      28        .31%
311: Depressive Disorder, Not Elsewhere
                                              18       .42%      47          .2%
Classified
25000: Diabetes Mellitus Without Mention
Of Complication, Type Ii Or Unspecified       19       .41%      29          .3%
Type, Not Stated As Uncontrolled
V222: Pregnant State, Incidental              20       .39%      26        .32%


Note: First column shows rank of procedure for uninsured; second column shows share
of uninsured procedures that are represented by that procedure; third and fourth columns
do the same for the insured.
